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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

ELIZABETH THOMAS,                      §
     Plaintiff                         §
                                       §
v.                                     §
                                       §
THE PROFESSIONAL LAW                   §
FIRM AND CORPORATION OF                §
BARRETT, DAFFIN, FRAPPIER,             §       CIVIL ACTION NO. 4:13-cv-02481
TURNER, & ENGEL, L.P.,                 §
DOLAN CORPORATION,                     §
AMERICAN PROCESSING                    §
COMPANY LLC, DIBIA                     §
NATIONAL DEFAULT                       §
EXCHANGE HOLDING L.P.,                 §
NDEX WEST, LLC, ITS BOARD              §
MEMBERS, OFFICERS AND                  §
EMPLOYEES, J.P. MORGAN                 §
CHASE N.A., FIKIA CHASE                §
HOME FINANCE, LLC, FIKIA               §
CHASE MANHATTAN                        §
MORTGAGE CORPORATION,                  §
AND DOES 1-50,                         §
     Defendants.                       §

 MOTION TO STRIKE AND DISMISS PURSUANT TO FEDERAL RULE
    OF CIVIL PROCEDURE 12(0 AND 8 AND SUBJECT THERETO
  CONSOLIDATED ANSWER OF DEFENDANT BARRETT, DAFFIN,
   FRAPPIER, TURNER & ENGEL, LLP, and NDEX WEST LLC, ITS
    MEMBERS, OFFICERS AND EMPLOYEES ("DEFENDANTS")

      COME NOW Defendants Barrett, Daffin, Frappier, Turner, & Engel, LLP

("BDFTE"), incorrectly named in the Plaintiff s Original Petition (hereinafter the

"Complaint) as "The Professional Law Firm and Corporation of Barrett, Daffin,


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Frappier, Turner & Engel, L.P., and NDEX West, LLC, Its Board Members,

Officers and Employees (collectively called "Defendants"),                and file this their

Motion to Strike and Dismiss Pursuant to Federal Rule of Civil Procedure 12(f)

and 8 and Subject Thereto Consolidated Answer to Plaintiffs                   Complaint, and

respectfully shows as follows:

         Motion to Strike and Dismiss Pursuant to Rule 12(0 and Rule 8

       Defendants respectfully move and request that the Complaint be dismissed

pursuant to Federal Rule of Civil Procedure 12(f). This Complaint is the plaintiffs

latest in a series of suits arising out of the same basic complaint.              1   Plaintiff,

Thomas apparently       believes that a lien securing purchase money debt on a

residence in Tomball, Texas should not be enforced.



1E.g., Elizabeth Thomas v. MersCorp, Inc. and Law Offices of Barrett Daffin Frappier
Turner & Engel and NDEX West; Civil Action No.4: 10-cv-4320, In the United States District
Court for the Southern District of Texas.    Voluntarily non-suited while 12(b) motions were
pending.
Elizabeth Thomas v. Chase Home Finance, LLC, Adversary Proceeding No. 11-03088, In the
United States Bankruptcy Court for the Southern District of Texas.      Dismissed for want of
jurisdiction because it was filed in a closed bankruptcy case.
Elizabeth Thomas v. Dolan Media Company, American Processing Company, Barrett, Daffin,
Frappier, Turner & Engel, LLP, and NDEX, Does 1thru 50, Adversary Proceeding No. 11-
03090, In the United States Bankruptcy Court for the Southern District of Texas. Dismissed for
want of jurisdiction by Court because filed in a closed bankruptcy case in which Debtor obtained
a discharge without scheduling claims.
Elizabeth Thomas v. Mortgage Electronic Registration Systems, Inc., and MERSCORP,
collectively as MERS, Law Office of Barrett Daffin Frappier Turner & Engel, LLP,
collectively Barrett, Burke, Wilson, Castle, Daffin & Frappier, LLP, collectively NDEX West,
LLC, Dolan Company, collectively Dolan Media, collectively NDEX, and, American
Processing Company, Does 1-50, Case No. CVII-3656; In the United States District Court for
the Eastern District of New York. Dismissal on the merits for Dolan entities, NDEX West, and
American Processing Company and for lack of jurisdiction ofBDFTE.

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      Plaintiff s Complaint      should     be   dismissed   because    it violates    the

requirements of Federal Rule of Civil Procedure 8 that a pleading contain a short

and plain statement of the claim showing that a pleader is entitled to relief. The

Complaint is neither short nor plain.        It is the opposite-byzantine,    frequently

incoherent   and composed without attention to basic grammar principles and

verbose. Defendants respectfully ask the court to dismiss the Plaintiff s Complaint

with leave to replead in compliance with Federal Rule of Civil Procedure 8, and

failing such repleading, to dismiss this action with prejudice.         E.g., Gordon v.

Green, 602 F.2d 743, 745-46 (5th Cir. 1979); Jumonville                v. Department    of

Treasury, 50 F.3d 1033,1995 WL 136507, *1-3 (5th Cir. 1995).

      WHEREFORE, PREMISES CONSIDERED, Defendants request that the

Complaint be stricken and dismissed with opportunity to replead within ten days to

conform to Rule 8 and failing such repleading to be dismissed with prejudice

without further action of the court.

      Subject to their foregoing motion, Defendants submit their Consolidated

Answer.

                                       First Defense

      Plaintiff s Complaint fails to state a claim upon which relief can be granted.




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                                  Second Defense

       As to the separately      numbered       paragraphs   of Plaintiff s Complaint,

Defendants respond as follows:

       1.    The allegations contained in paragraph 1 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

      2.     The allegations contained in paragraph 2 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

       3.    The allegations contained in paragraph 3 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

      4.     Defendants deny that allegation as stated in the first sentence of

paragraph 4 as written.    BDFTE is a Texas limited liability partnership with its

principal place of business in Addison, Dallas County, Texas. Brian Engel, Steve

P. Turner and James C. Frappier are individually partners ofBDFTE. To any other

extent Defendants denies the allegations in paragraph 4.


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       5.    Defendants deny the allegations in paragraph 5.

       6.    Defendants deny the allegations in paragraph 6.

       7.    The allegations contained in paragraph 7 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

       8.    The allegations contained in paragraph 8 constitute legal conclusions

as to which no response is required or are too indefinite and vague to be

susceptible of specific admission or denial or constitute matters of opinion or

characterization by plaintiff that cannot be specifically admitted or denied. To the

extent that they are allegations of fact, they are denied for a lack of sufficient

knowledge or information to form a belief about the truth thereof.

      9.     The allegations contained in paragraph 9 are too indefinite and vague

to be susceptible of specific admission or denial or constitute matters of opinion or

characterization by plaintiff that cannot be specifically admitted or denied. To any

other extent, Defendants deny the allegations contained in paragraph 9 constitute

legal conclusions as to which no response is required.

       10.   The allegations contained in paragraph      10 are incoherent and are

otherwise denied.




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          11.   The allegations contained in paragraph 11 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

          12.   Defendants lack sufficient personal knowledge to either specifically

admit or deny the allegations in the regarding the alleged ownership percentages of

the Dolan Company and those allegations are therefore denied.             The remaining

allegations contained in paragraph 12 are denied.

          13.   The allegations contained in paragraph 13 are denied.

          14.   The allegations contained in paragraph 14 are denied.

          15.   Defendants deny the allegations in paragraph 15 because they are

incoherent,     but fairly answers that the software known as Default. net is a

proprietary case management software.           To any other extent, the allegations in

paragraph 15 are denied.

       16.      The allegations contained in paragraph      16 are incoherent and are

denied.

       17.      Defendants deny the allegations contained in paragraph.

       18.      The allegations contained in paragraph 18 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,




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they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

          19.   The allegations contained in paragraph 19 state allegations only of

plaintiff's beliefs, which are incoherent, without any factual basis and are in any

event not susceptible of specific admission or denial. To any other extent they are

denied.

      20.       The allegations contained in paragraph 20 are denied. Moreover, they

are merely statements not of fact, but of salutary conventions plaintiff wishes to

use throughout its pleadings.

      21.       The allegations contained in paragraph 21 are denied.

      22.       The allegations contained in paragraph 22 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

      23.       The allegations contained in paragraph 23 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

      24.       The allegations contained in paragraph 24 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.




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       25.    The allegations contained in paragraph 25 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

       26.    The allegations contained in paragraph 26 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

       27.    The allegations contained in paragraph 27 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

       28.    The allegations contained in paragraph 28 are denied.

       29.    The allegations contained in paragraph 29 are incoherent and are

denied.

       30.    The allegations contained in paragraph 30 are not allegations of fact

and instead constitute allegations of law.     They require no response and to the

extent construed as allegations of fact are denied.

       31.    The allegations contained in paragraph 31 constitute legal conclusions

as to which no response is required.      To the extent that they are construed as

allegations   of fact, they are denied for a lack of sufficient knowledge          or

information to form a belief about the truth thereof.




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       32.    The allegations contained in paragraph 32 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

      33.     The allegations   contained       in paragraph   33 identify no specific

document and are thus vague and indefinite and not susceptible to specific

admission or denial. Moreover, they purport to state the contents and legal effect

of instruments that speak for themselves.         Defendants admit that BDFTE sent a

letter to addressed Elizabeth Thomas in the firm's capacity as attorneys for Chase

Home Finance, LLC which disclosed that the firm represented              Chase Home

Finance, LLC, the mortgage servicer, but denies that such letter was a "debt

collection form" as alleged.    To the extent construed as allegations of law no

response is require. To any other extent, the allegations contained in paragraph 33

are denied.

      34.     Defendants admit that BDFTE in its capacity as attorneys prepared an

"Assignment of Deed of Trust" executed to be effective on October 11, 2010 by

Stephen C. Porter in his capacity as an Assistant Secretary of Mortgage Electronic

Registration Systems, Inc. as Nominee for Lender and Lender's successors and

assigns. To any other extent, the allegations contained in paragraph 34 are denied.




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       35.    Defendants lack personal knowledge of Elizabeth Thomas' dealings

on October 19, 2007 except such knowledge as may be gained from documents

related to the loan transaction involved, including a promissory note purporting to

be executed by Elizabeth Thomas as maker to "Lender" Flagstone Lending Group,

which note permits by its stated terms the Lender may transfer the note, and which

note on its face is endorsed by Flagstone Lending Group to the order of J.P.

Morgan Chase Bank, N.A. and subsequently endorsed in blank by J.P. Morgan

Chase Bank.     To any other extent, the allegations in paragraph 35 are denied

because they are false or because Defendants lack sufficient personal knowledge to

specifically admit or deny them.

       36.    The allegations contained in paragraph 36 are denied for a lack of

sufficient knowledge or information to form a belief about the truth thereof.

       37.    The allegations contained in paragraph 37 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

      38.     The allegations contained in paragraph 38 are incoherent and to the

extent decipherable at all constitute legal conclusions as to which no response is

required. To the extent that they are allegations of fact, they are denied for a lack

of sufficient knowledge or information to form a belief about the truth thereof.


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       39.    The allegations contained in paragraph 39 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

       40.    The allegations contained in paragraph 40 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

      41.    The allegations contained in paragraph 41 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

      42.    The allegations contained in paragraph 42 are incoherent and to the

extent decipherable    constitute   legal conclusions   as to which no response is

required. To the extent that they are allegations of fact, they are denied for a lack

of sufficient knowledge or information to form a belief about the truth thereof.

      43.    The allegations contained in paragraph 43 are too vague and indefinite

to be specifically admitted or denied because the paragraph does not contain a

complete sentence. To the extent decipherable, they constitute legal conclusions as

to which no response is required.     To the extent that they are allegations of fact,


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they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

       44.   The allegations contained in paragraph 44 are too vague and indefinite

to be specifically admitted or denied because the paragraph does not contain a

complete sentence. To the extent decipherable, they constitute legal conclusions as

to which no response is required.     To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

      45.    BDFTE acted in the capacity as attorney for the mortgage servicer and

Defendants admit that Defendants were not in October 2010 an owner of a note

executed by Elizabeth Thomas.       Defendants deny that it negotiated any such note

by endorsement.     To any other extent the allegations contained in paragraph 45

constitute legal conclusions as to which no response is required or to the extent

construed as factual, are denied.

      46.    The allegations contained in paragraph 46 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

      47.    The allegations contained in paragraph 47 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.


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       48.   The allegations contained in paragraph 48 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

       49.   The allegations contained in paragraph 49 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

       50.   The allegations contained in paragraph 50 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

       51.   The allegations contained in paragraph 51 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

      52.    Defendants admit that in its capacity as attorneys, BDFTE sent a letter

dated February 25, 2013 advising that the firm represented JPMorgan Chase Bank,

N.A. as mortgage servicer.       To any other extent, the allegations contained in

paragraph 52 constitute legal conclusions as to which no response is required. To

the extent that they are allegations of fact, they are denied.

      53.    The allegations contained in paragraph 53 are denied.




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      54.    The allegations contained in paragraph 54 are incoherent and to the

extent decipherable    constitute   legal conclusions   as to which no response    IS


required. To the extent that they are allegations of fact, they are denied.

      55.    The allegations contained in paragraph 55 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied.

      56.    Defendants admit that BDFTE received a letter purporting to be sent

by "Elizabeth Mohd- Thomas" and Abdelhalim H. Mohd" dated on its face March

4 2013 and states the contents of any letter plaintiff sent speaks for itself. To any

other extent, the allegations contained in paragraph 56 are denied.

      57.    The allegations contained in paragraph 57 are denied.

      58.    The allegations contained in paragraph 58 are denied.

      59.    The allegations contained in paragraph 59 are denied.

      60.    The allegations contained in paragraph 60 are denied.

      61.    The allegations contained in paragraph 61 are denied.

      62.    The allegations contained in paragraph 62 are denied.

      63.    The allegations contained in paragraph 63 are denied.

      64.    The allegations contained in paragraph 64 are denied.

      65.    The allegations contained in paragraph 65 are denied.




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       66.     The allegations     contained        in paragraph   66 are incoherent   and

therefore    not susceptible     to specific    admission     or denial.   To the extent

decipherable, they are denied.

       67.    The allegations contained in paragraph 67 are denied.

       68.    The allegations contained in paragraph 68 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.

       69.    The allegations contained in paragraph 69 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       70.    The allegations contained in paragraph 70 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

      71.     The allegations contained in paragraph 71 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

      72.     The allegations contained in paragraph 72 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.


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       73.    The allegations contained in paragraph 73 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       74.    The allegations contained in paragraph 74 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       75.    The allegations contained in paragraph 75 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       76.   The allegations contained in paragraph 76 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       77.   The allegations contained in paragraph 77 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

      78.    The allegations contained in paragraph 78 constitute legal conclusions

as to which no response is required. To the extent that they are allegations of fact,

they are denied for a lack of sufficient knowledge or information to form a belief

about the truth thereof.




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       79.    The allegations contained in paragraph 79 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       80.    The allegations contained in paragraph 80 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       81.   The allegations contained in paragraph 81 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       82.   The allegations contained in paragraph 82 relate to parties other than

Defendants about which Defendants lack sufficient personal knowledge to form a

belief as to their truth and are therefore denied.

       83.   To the extent concerning Defendants, the allegations contained in

paragraph 83 are denied. To the extent concerning parties other than Defendants

lack sufficient personal knowledge to form a belief as to their truth and they are

therefore denied.

      84.    The allegations contained in paragraph 84 are denied.

      85.    The referenced      attorneys    did participate   in the discussion   the

Complaint references as the Texas Task Force Meeting on Judicial Foreclosures.

Defendants have no present information to dispute that the specific excerpts


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reproduced were excerpted from a full transcript of that meeting. Defendants deny

that the excerpts have any relevance to this case and deny that the excerpts support

any proposition to which plaintiff attributes them and to any other extent denies the

allegations in paragraph 85.

       86.     The allegations    contained        in paragraph   86 are incoherent      and

nonsensical and to the extent decipherable are denied.

       87.     The allegations contained in paragraph 87 are merely incomplete

alleged statements of a person devoid of context and not framed within a complete

sentence such that they are not susceptible to specific admission or denial. To any

other extent, they are denied.

       88.     The allegations contained are denied.

       89.     The allegations contained in paragraph 89 are too vague and indefinite

to be susceptible of specific admission or denial. Copyrights are not registered in

the U.S. Patent and Trademark Office.          After a diligent inquiry, the Defendants

answering     are not familiar with the reference number alleged and therefore

currently    do not possess      sufficient   knowledge      concerning    the   allegations

purporting to state the contents of a document not provided with the complaint. To

any other extent, the allegations in paragraph 89 are denied.

       90.     The allegations contained in paragraph 90 are denied.             Answering

further,     Defendants    respond     that    patent      application    publication    no.


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2008/0201190Al     describes a system and method for managing case files that

permits inputted electronically stored information to be merged in print documents

and to store information concerning the status of case file, including images of

documents and to any other extent denies the allegations in paragraph 90.

      91.    The allegations contained in paragraph 91 are denied.

      92.    The allegations contained in paragraph 92 are denied.

      93.    The allegations contained in paragraph 93 are denied.

      94.    The allegations contained in paragraph 94 are denied.

      95.    Defendants admit that patent the referenced patent application was

filed and to any other extent deny the allegations contained in paragraph 95.

      96.    Defendants admit that the case management program referenced in the

paragraph includes connectivity tools for interfacing with middleware packages

and to any other extent deny the allegations contained in paragraph 96.

      97.    The Defendants     admit that the process     describe   in the patent

incorporates some functionalities described in the application and to any other

extent denies the allegations contained in paragraph 97.

      98.   The allegations contained in paragraph 98 are denied.

      99.   The allegations contained in paragraph 99 are denied.




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       100. Defendants admit that Barrett Burke Wilson Castle Daffin & Frappier,

LLP changed its name to Barrett Daffin Frappier Turner & Engel, LLP and further

states that dates a filing agency accepted a notice are matters of public record.

      101. Defendants admit that William Compton and Charles Haag assigned

the patent application to Barrett Burke Wilson Castle Daffin & Frappier, LLP.

      102. The allegations contained in paragraph 102 are denied.

      103. The Defendants admit that BDFTE and National Default Exchange,

LP were parties after September 2, 2008 to a services agreement and otherwise

denies the allegations contained in paragraph 103.

      104. The allegations contained in the first sentence of paragraph 104 are

incoherent absent a verb and not susceptible to specific admission or denial.

Defendants admit that James C. Frappier is an attorney for BDFTE and to any

other extent denies the allegations contained in paragraph 104.

      105. Defendants admit that NDEX West, LLC is a Texas limited liability

company formed in Texas and to any other extent denies the allegations contained

in paragraph 105.

      106. The allegations contained in paragraph 106 are denied.

      107. The allegations contained in paragraph 107 are denied.

      108. The allegations contained in paragraph 108 are denied.




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          109. Defendants   lack sufficient    personal   knowledge   to form a VIew

concerning the allegations in paragraph 109 and they are therefore denied.

          110. Defendants   lack sufficient personal      knowledge   to form a VIew

concerning the allegations in paragraph 110 and they are therefore denied.

          111. Defendants   lack sufficient personal      knowledge   to form a VIew

concerning the allegations in paragraph 111 and they are therefore denied.

       112. The allegations contained in paragraph 112 are incoherent and are

denied.

      113. The allegations contained in paragraph 113 are not allegations of fact

and are therefore not subject to specific admission or denial. To any other extent

they are denied.

      114. The allegations contained in paragraph 114 are denied.

      115. The allegations contained in paragraph 115 are denied.

      116. The allegations contained in paragraph 116 are denied.

      117. The allegations contained in paragraph 117 are denied.

      118. The allegations contained in paragraph 118 are denied.

      119. The allegations contained in paragraph 119 are denied.

      120. The allegations contained in paragraph 120 are denied.

      121. The allegations contained in paragraph 121 are denied.

      122. The allegations contained in paragraph 122 are denied.


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       123. The allegations contained in paragraph 123 are denied.

       124. The allegations contained in paragraph 124 are denied.

       125. The allegations contained in paragraph 125 are denied.

       126. The allegations contained in paragraph 126 are denied.

       127. The    allegations   contained      in   paragraph   127 constitute   legal

conclusions as to which no response is required.           To the extent that they are

allegations   of fact, they are denied for a lack of sufficient knowledge            or

information to form a belief about the truth thereof.

       128. The allegations contained in paragraph 128 are denied.

       129. The allegations contained in paragraph 129 are denied.

       130. The allegations contained in paragraph 130 are denied.

       131. The allegations contained in paragraph 131 are denied.

       132. The allegations contained in paragraph 132 are denied.

       133. The allegations contained in paragraph 133 are incoherent and are

therefore too vague and indefinite to be susceptible of specific admission or denial.

Moreover, the allegations are founded on assumptions of fact that are themselves

false and on legal conclusions that are not susceptible of specific admission or

denial. To any other extent, they are denied.

       134. The allegations contained in paragraph 134 are denied.




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         135. The    allegations   contained    in paragraph   135 purport   to state

incomplete excerpts from a document or documents that speak for themselves, are

not documents of the Defendants, and require no response. To any other extent the

allegations are denied.

         136. The allegations contained in paragraph 136 are denied.

         137. The   allegations    contained    in paragraph   137 purport   to state

incomplete excerpts from a document or documents that speak for themselves, are

not documents of the Defendants, and require no response. To any other extent the

allegations are denied.

         138. The allegations contained in paragraph 138 are denied.

         139. Defendants have not located at the time of answering a copy of the

alleged "copyright application" to which plaintiff refers and therefore cannot make

any specific admission or denial concerning language alleged to be a quote. To any

other extent the allegations of paragraph 139 are denied.

         140. The allegations contained in paragraph 140 are denied.

         141. The allegations contained in paragraph 141 are denied.

         142. The allegations contained in paragraph 142 are denied.

         143. The allegations contained in paragraph 143 are denied.

         144. Plaintiffs Complaint contains no paragraph 144 therefore no response

IS   necessary.


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          145. The allegations contained in paragraph 145 are denied.

          146. The    allegations   contained    in    paragraph   146   constitute   legal

conclusions as to which no response is required.             To the extent that they are

allegations of fact, they are denied.

          147. The    allegations   contained    III   paragraph   147   constitute   legal

conclusions as to which no response is required.             To the extent that they are

allegations of fact they are denied.

          148. The allegations contained in paragraph 148 are denied.

          149. The factual allegations contained in paragraph 149 are denied. To the

extent the paragraph contains alleges purporting to state the alleged contents of

documents (which documents are not the Defendants'             documents), they are not

allegations of fact, but are instead allegations of the opinion not susceptible of

specific admission or denial.       The allegations are moreover not material to any

claim or cause of action. To any other extent the allegations are denied.

          150. The allegations contained in paragraph 150 are denied.

          151. The allegations contained in paragraph 151 relate to the alleged status

or actions of persons unrelated to the Defendants.            Defendants lack sufficient

knowledge to specifically admit or deny the allegations and they are therefore

denied.




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          152. The allegations contained in paragraph 152 relate to the alleged status

or actions of persons unrelated to the Defendants.          Defendants lack sufficient

knowledge to specifically admit or deny the allegations and they are therefore

denied.

       153. In response to the allegations made in Paragraph 153 of Plaintiffs

Complaint, Defendants reiterate and incorporate by reference as if restated herein

the responses to Paragraphs 1 through 152, as set forth hereinabove.       To any other

extent, the allegations in paragraph 153 are denied.

       154. The allegations contained in paragraph 154 are denied.

       155. The allegations contained in paragraph 155 are denied.

       156. The allegations contained in paragraph 156 are denied.

       157. The allegations contained in paragraph 157 are denied.

       158. The allegations contained in paragraph 158 are denied.

       159. The allegations contained in paragraph 159 are denied.

       160. In response to the allegations made in Paragraph 160 of Plaintiffs

Complaint, Defendants reiterate and incorporate by reference as if restated herein

its responses to Paragraphs 1 through 159, as set forth hereinabove.

       161. The      allegations   contained    in   paragraph   161   constitute   legal

conclusions as to which no response is required.           To the extent that they are

allegations of fact, they are denied.


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          162. The allegations contained in paragraph 162 are denied.

          163. The allegations contained in paragraph 163 are incoherent and are

denied.

       164. The allegations contained in paragraph 164 are denied.

       165. The allegations contained in paragraph 165 are denied.

       166. The      allegations   contained    in   paragraph   166 constitute     legal

conclusions as to which no response is required.           To the extent that they are

allegations of fact, they are denied.

       167. The allegations contained in paragraph 167 are denied.

       168. The      allegations   contained    in   paragraph   168   constitute   legal

conclusions as to which no response is required.           To the extent that they are

allegations of fact, they are denied.

       169. The allegations contained in paragraph 169 are denied.

       170. The allegations contained in paragraph 170 are denied.

       171. The allegations contained in paragraph 171 are denied.

       172. The allegations contained in paragraph 172 are denied.

       173. The allegations contained in paragraph 173 are denied.

       174. In response to the allegations made in Paragraph 174 of Plaintiffs

Complaint, Defendants reiterate and incorporate by reference as if restated herein

its responses to Paragraphs 1 through 173, as set forth hereinabove.


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       175. The allegations contained in paragraph 175 are denied.

       176. The allegations contained in paragraph 176 are denied.

       177. The allegations contained in paragraph 177 are denied.

       178. The allegations contained in paragraph 178 are denied.

       179. The allegations contained in paragraph 179 are denied.

       180. In response      to the allegations     made in Paragraph       180 of the

Complaint, Defendants reiterate and incorporate by reference as if restated herein

its responses to Paragraphs 1 through 179, as set forth hereinabove.

       181. The allegations contained in paragraph 181 are denied.

       182. The allegations contained in paragraph 182 are not allegations of fact

but merely state plaintiff s characterization of legal propositions and no response is

required. To the extent construed as allegations of fact they are too vague and

indefinite to be susceptible to specific admission or denial and are therefore denied.

       183. The     allegations   contained    in   paragraph   183    constitute   legal

conclusions as to which no response is required.          To the extent that they are

allegations of fact, they are denied.

       184. The     allegations   contained    m    paragraph   184    constitute   legal

conclusions as to which no response is required.          To the extent that they are

allegations of fact, they are denied.




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       185. The     allegations   contained    in   paragraph   185    constitute   legal

conclusions as to which no response is required.          To the extent that they are

allegations of fact, they are denied.

       186. The allegations contained in paragraph 186 are denied to the extent

construed as allegations of fact and construed as mere legal conclusions require no

response.

       187. The allegations contained in paragraph 187 are denied.

       188. The allegations contained in paragraph 188 are denied.

       189. The allegations contained in paragraph 189 are denied.

      190. The allegations contained in paragraph 190 are denied.

      191. The allegations contained in paragraph 191 are denied.

      192. In response       to the allegations     made in Paragraph      192 of the

Complaint, Defendants reiterate and incorporate by reference as if restated herein

its responses to Paragraphs 1 through 191, as set forth hereinabove.

      193. The allegations contained in paragraph 193 are denied.

      194. The allegations contained in paragraph 194 are denied.

      195. The allegations contained in paragraph 195 are denied.

      196. The allegations contained in paragraph 196 are denied.

      197. The allegations contained in paragraph 197 are denied.




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       198. In response       to the allegations   made in Paragraph       198 of the

Complaint, Defendants reiterate and incorporate by reference as if restated herein

its responses to Paragraphs 1 through 197, as set forth hereinabove.

       199. The allegations contained in paragraph 199 are denied.

       200.     The allegations contained in paragraph 200 are denied.

       201.     The allegations contained in paragraph 201 are denied.

       202.     The allegations contained in paragraph 202 are denied.

       203.     The allegations contained in paragraph 203 are denied.

       204.     The allegations contained in paragraph 204 are denied.

       205.     The allegations contained in paragraph 205 are denied.

       206.     In response to the allegations made in Paragraph 206 Defendants lack

sufficient knowledge or information to form a belief about their truth because

plaintiff refers to her "Amended Complaint."       No Amended Complaint had been

filed by Plaintiff in the above-captioned lawsuit. To the extent Plaintiff s allegation

refers to the allegation of the Complaint, Defendants reiterate and incorporates by

reference as if restated herein the responses to Paragraphs 1 through 243, as set

forth herein.

       207.     The allegations contained in paragraph 207 are denied.

       208.     The allegations contained in paragraph 208 are denied.

      209.      The allegations contained in paragraph 209 are denied.


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       210.   The allegations contained in paragraph 210 are denied.

       211.   The allegations contained in paragraph 211 are denied.

       212.   The allegations contained in paragraph 212 are denied.

       213.   The allegations contained in paragraph 213 are denied.

       214.   The allegations contained in paragraph 214 are denied.

       215.   The allegations contained in paragraph 215 are denied.

       216.   The   allegations   contained    in    paragraph   216   constitute   legal

conclusions as to which no response is required.           To the extent that they are

allegations   of fact, they are denied for a lack of sufficient knowledge              or

information to form a belief about the truth thereof.

      217.    In response to the allegations made in Paragraph 217 of Plaintiff s

Complaint, Defendants reiterate and incorporate by reference as if restated herein

the responses to Paragraphs 1 through 216, as set forth hereinabove.

      218.    The   allegations   contained    in    paragraph   218   constitute   legal

conclusions as to which no response is required.           To the extent that they are

allegations of fact, they are denied.

      219.    The   allegations   contained    III   paragraph   219   constitute   legal

conclusions as to which no response is required.           To the extent that they are

allegations of fact, they are denied.

      220.    The allegations contained in paragraph 220 are denied.


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       221.   The    allegations   contained    in   paragraph     221   constitute   legal

conclusions as to which no response is required.           To the extent that they are

allegations of fact, they are denied.

       222.   The allegations contained in paragraph 222 are denied.

       223.   The allegations contained in paragraph 223 are denied.

       224.   The allegations contained in paragraph 224 are denied.

       225.   The allegations contained in paragraph 225 are denied.

       226.   The allegations contained in paragraph 226 are denied.

       227.   The allegations contained in paragraph 227 are denied.

       228.   The allegations contained in paragraph 228 are denied.

       229.   In response to the allegations made in Paragraph 229 are denied for a

lack of sufficient knowledge or information to form a belief about the truth thereof

because Plaintiff refers to her "Amended Complaint."             No Amended Complaint

had been filed by Plaintiff in the above-captioned lawsuit. To the extent plaintiffs

allegations refer to the allegations of the Complaint, Defendants reiterate and

incorporate by reference as if restated herein the responses to Paragraphs 1 through

228, as set forth herein.

       230.   The Defendants lack sufficient personal knowledge concerning the

reporting practices of third parties and the allegations contained in paragraph 230

are therefore denied.


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       231.    The Defendants lack sufficient personal knowledge concerning the

reporting practices of third parties and the allegations of paragraph 231 are

therefore denied.

       232.    The Defendants lack sufficient personal knowledge concerning the

reporting practices of third parties and the allegations of paragraph 232 are

therefore denied.

      233.     Defendants deny that they were under any obligations to report any

information concerning the plaintiff to any credit reporting agencies and have not

done so.      To any other extent, the allegations contained in paragraph 233 are

denied.

      234.     The   allegations   contained         in   paragraph   234   constitute   legal

conclusions as to which no response is required.                To the extent that they are

allegations of fact, they are denied.

      235.     The allegations contained       III   paragraph 235 state no independent

propositions of fact and to the extent construed to contain any allegation of fact are

denied.

      236.     The allegations contained in paragraph 236 are denied.

      237.     The allegations contained in paragraph 237 are denied.

      238.     The allegations contained in paragraph 238 are denied.

      239.     The allegations contained in paragraph 239 are denied.


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        240.    The allegations contained in paragraph 240 are denied.

        241.    The allegations contained in paragraph 241 are denied.

        242.    The allegations contained in paragraph 242 are denied.

        243.    The allegations contained in paragraph 243 are denied.

                                     Third Defense

        244.    Defendants plead the affirmative defense of res judicata.

        245.    Defendants   plead the affirmative      defense of failure to mitigate

damages.

       246.     Defendants plead the affirmative defense of limitation on recovery of

exemplary damages as codified in TEX.CIV. PRAC. & REM. CODE§ 41.008.

       247.     Defendants plead that plaintiff's claims are barred in whole or in part

by the doctrine of estoppel.

       248.     Defendants plead that the plaintiff's    claims are barred by qualified

immunity.

       249.     Defendants plead that the plaintiff's claims are wholly frivolous and

that the plaintiff is a vexatious litigant who should be enjoined from filing further

suit or papers in any court of the United States, individually or by an attorney

related to alleged efforts to enforce a lien or debt concerning the residence the

subject of the Complaint without prior authorization by a court of competent

jurisdiction.


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      WHEREFORE,        PREMISES CONSIDERED,             Defendants pray that, upon

final trial hereof, Plaintiff    take nothing by reason of her Complaint;         that

Defendants have and recover all costs of Court expended herein and their attorneys

fees along with an order enjoining the Plaintiff as requested above; and that

Defendants have such other and further relief, either general or special, at law or in

equity to which it may show itself justly entitled to receive.


                                         Respectfully submitted,

                                         MCGINNIS,   LOCHRIDGE     & KILGORE, L.L.P.




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                         CERTIFICATE OF SERVICE

       I hereby certify that a true and complete copy of the above and foregoing
Motion to Strike and Dismiss Pursuant or Federal Rule of Civil Procedure 12(f)
and 8 and Subject Thereto Consolidated Answer of Defendant Barrett, Daffin,
Frappier, Turner, & Engel, LLP and NDEX West LLC, Its Members, Officers and
Employees ("Defendants") was served by the United States Southern District of
Texas' efiling notification system on this the 5th day of September 2013, to the
following:

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